         Case 1:17-cr-00201-ABJ Document 263 Filed 04/09/18 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,


                Defendant


 GOVERNMENT’S REPLY IN SUPPORT OF MOTION TO UNSEAL TRANSCRIPTS

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this reply in support of its motion (Doc. 222) to unseal the sealed portions of the

transcripts of the status conferences held on January 16, 2018, and February 14, 2018. In his

response to the government’s motion, defendant Manafort states that he has no basis for

determining whether to object to the unsealing of pages 11 through 14 of the February 14 transcript

because those pages are redacted in the transcript provided to him. Doc. 262 at 1. The government

has no objection to this Court’s ordering the government to provide Manafort with the sealed

portion of that transcript so that he can determine whether to object to its unsealing.

                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER, III
                                                      Special Counsel

Dated: April 9, 2018                          By:     /s/ Greg Andres
                                                      Andrew Weissmann
                                                      Greg D. Andres (D.D.C. Bar No. 459221)
                                                      U.S. Department of Justice
                                                      Special Counsel’s Office
                                                      950 Pennsylvania Avenue NW
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 616-0800

                                                      Attorneys for the United States of America
